Case: 1:15-cv-10735 Document #: 223 Filed: 04/28/20 Page 1 of 1 PageID #:7422

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                               Eastern Division

Shaun Fauley
                                Plaintiff,
v.                                                  Case No.: 1:15−cv−10735
                                                    Honorable Virginia M. Kendall
Drug Depot, Inc., et al.
                                Defendant.



                           NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, April 28, 2020:


       MINUTE entry before the Honorable Virginia M. Kendall. On the Court's own
Motion, Prove up hearing is reset from 5/5/2020 to 5/6/2020 at 10:00 AM. Parties are to
appear telephonically. Please use the Court's toll free call in number 877 848 7030,
conference access code is 2413900. Mailed notice(lk, )




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